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                                         January 28, 2020


The Honorable Judge John G. Koeltl
United States Courthouse
500 Pearl Street
New York, NY 10007

       Re: 1:19-cv-07189-JGK Plaintiff’s Third Letter Motion for Extension of Time within
       Which to Effectuate Service on Defendant

Dear Judge Koeltl:

       Pursuant to Fed. R. Civ. P. 4(m), Plaintiff, Malibu Media, LLC, move for entry of an order

extending the time within which Plaintiff has to serve the John Doe Defendant with a Summons

and Complaint, and states:

       1.       Plaintiff commenced this action against the internet subscriber assigned IP

98.116.191.111 (“Defendant”) on July 31, 2019, at which time it filed a complaint alleging that

Defendant copied and distributed one or more of Plaintiff’s copyrighted works, all without

Plaintiff’s consent. See CM/ECF 1. Plaintiff asserted a claim for direct copyright infringement,

and requested that Defendant delete and permanently remove, and be enjoined from continuing to

infringe, Plaintiff’s copyrighted works. See id.

       2.       On September 3, 2019, Plaintiff was granted leave to serve a third-party subpoena

on Defendant’s ISP, Verizon, to obtain the Defendant’s identifying information [CM/ECF 7].

Plaintiff issued the subpoena on September 8, 2019 and received the ISP’s response on or about


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November 18, 2019.

       3.       Upon receipt of the subscriber’s identifying information, Plaintiff conducted a

thorough investigation and determined that a good faith basis exists to name the subscriber as the

defendant infringer.

       4.       Accordingly, Plaintiff filed its Amended Complaint to name the Defendant

[CM/ECF 14] and requested that the Clerk issue a summons as to the Defendant. The Court issued

the summons on December 16, 2019.

       5.       On or about December 19, 2019, Plaintiff sent the Summons and Amended

Complaint to its process server. The process server has three attempts to serve the Defendant but

has not been able to effectuate service. At this time, the process server requires additional time to

effectuate service.

       6.       Pursuant to this Court’s Order on Plaintiff’s Second Motion for Extension of Time

Within Which It Has to Effectuate Service on John Doe Defendant, [CM/ECF 18], Plaintiff was

required to effectuate service on the Defendant no later than January 27, 2020.

       7.       Procedurally, Plaintiff respectfully requests that the time within which it has to

effectuate service of the summons and Complaint on Defendant be extended until at least thirty-

five (35) days, or until March 2, 2020. The additional time will allow Plaintiff’s process server to

effectuate service.

       8.       This motion is made in good faith and not for the purpose of undue delay.

       9.       None of the parties will be prejudiced by the granting of this extension.

       WHEREFORE, Plaintiff respectfully requests that the time within which it has to effectuate

service of the summons and Complaint on Defendant be extended until March 2, 2020. A proposed

order is attached for the Court’s convenience.




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       Dated: January 28, 2020                     Respectfully submitted,

                                            By:    /s/ Kevin T. Conway
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                                                   Attorney for Plaintiff


                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 28, 2020, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record
and interested parties through this system.

                                                           By: /s/ Kevin T. Conway




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